                  THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          EASTERN DIVISION

                                     NO. 4:09-M-1021

UNITED STATES OF AMERICA,         )
                                  )
                                  )
vs.                               )               ORDER
                                  )
                                  )
BENNY CARL SMITH, JR.,            )
                                  )
      Defendant.                  )
_________________________________ )

       THIS CAUSE was heard on February 20, 2009 on Defendant’s Preliminary

Examination. The Government was represented by an Assistant United States Attorney and

Defendant was present and represented by counsel. Defendant is charged in a criminal

complaint with: 1) knowingly and intentionally conspiring to distribute more than five

hundred grams of Cocaine, a Schedule II narcotic controlled substance; and 2) knowingly

and intentionally possessing with intent to distribute more than five hundred grams of

Cocaine, a Schedule II narcotic controlled substance.

       During the hearing in this matter the Government failed to present evidence

connecting Defendant to any quantity of cocaine. Specifically, the Government relied almost

entirely upon vague assertions that Defendant had “affirmed” the statements of a co-

defendant with regard to the quantity of cocaine at issue in this case. Accordingly, there is

no probable cause at this time to believe that Defendant committed the crimes listed in the

criminal complaint.     Therefore, it is HEREBY ORDERED that those charges be



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DISMISSED for lack of probable cause.

      DONE AND ORDERED in Chambers at Raleigh, North Carolina this 20th day of

February, 2009.




                                        __________________________________
                                               William A. Webb
                                               U.S. Magistrate Judge




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